Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 1 of 23 Pageid#: 2391
                                                           CLERKS OFFICE U.S. DIST. COURT
                                                                                    AT CHARLOTTESVILLE, VA
                                                                                          FILED
                                                                                      12/21/2018
                                IN THE UNITED STATES DISTRICT COURT                 JULIA C. DUDLEY, CLERK
                               FOR THE WESTERN DISTRICT OF VIRGINIA                 BY: /s/ J. JONES
                                      CHARLOTTESVILLE DIVISION                         DEPUTY CLERK


    DAMIAN STINNIE, ET AL,                                 CASE NO. 3:16-CV-00044
                                         Plaintiffs,

                          v.
                                                           MEMORANDUM OPINION
    RICHARD D. HOLCOMB, IN HIS OFFICIAL
    CAPACITY AS THE COMMISSIONER OF THE
    VIRGINIA DEPARTMENT OF MOTOR VEHICLES,
                                                           JUDGE NORMAN K. MOON
                                       Defendant.

          The plaintiffs in this putative class action have sued the Commissioner of Virginia’s

   Department of Motor Vehicles, challenging the constitutionality of Virginia Code § 46.2-395 (“§

   46.2-395”), which requires the automatic suspension of drivers’ licenses for failure to pay state

   court fines and costs. Plaintiffs have moved for a preliminary injunction to: (1) enjoin the

   Commissioner from enforcing § 46.2-395; (2) remove current suspensions of Plaintiffs’ driver’s

   licenses imposed under § 46.2-395; and (3) enjoin the Commissioner from charging a fee to

   reinstate Plaintiffs’ licenses where there are no other current restrictions on their licenses. The

   parties briefed the motion, and the Court held an evidentiary hearing and oral argument. Based

   on the current record, the Court concludes that Plaintiffs are likely to succeed on the merits of

   their procedural due process claim because the Commissioner suspends licenses without an

   opportunity to be heard. The motion for a preliminary injunction will therefore be granted.

                                           I.          Background

          This case was first filed with this Court in July 2016 and was dismissed without

   prejudice. (Dkt. 57). The Fourth Circuit dismissed Plaintiffs’ appeal for lack of appellate

   jurisdiction. Stinnie v. Holcomb, 734 F.App’x 858, 869 (4th Cir. 2018). The Fourth Circuit


                                                       1
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 2 of 23 Pageid#: 2392




  explained that this Court’s “grounds for dismissal [did] not clearly indicate that no amendment in

  the complaint could cure the defects in the plaintiff’s case.” Id. at 861 (internal quotations

  omitted).   Accordingly, on remand, in September 2018, Plaintiffs 1 submitted an amended

  complaint, alleging that § 46.2-395 “as written and as implemented by the [Virginia Department

  of Motor Vehicles (“DMV”) Commissioner Richard D. Holcomb (“Commissioner”)] . . . is

  unconstitutional on its face for failing to provide sufficient notice or hearing to any driver before

  license suspension.” (Dkt. 84 ¶ 5). Plaintiffs also allege § 46.2-395 is “unconstitutional as

  applied to people who cannot afford to pay due to their modest financial circumstances.” (Id.).

         In their motion for preliminary injunction, Plaintiffs request that this Court: “(1) enjoin

  the Commissioner from enforcing Section 46.2-395 against Plaintiffs and the Future Suspended

  Class Members without notice and determination of ability to pay; (2) remove any current

  suspensions of [Plaintiffs’] driver’s licenses imposed under Section 46.2-395; and (3) enjoin the

  Commissioner from charging a fee to reinstate the Plaintiffs’ licenses if there are no other

  restrictions on their licenses.” (Dkt. 90 at 2).

                                          II.        Findings of Fact

         In assessing the appropriateness of this relief, the Court finds the following facts from the

  preliminary injunction record.

                                                           A.

         1. Plaintiffs are Virginia residents whose licenses have been suspended due to failure to

  pay court fines and costs. (Dkt. 90 at 5).
  1
          The plaintiffs named in the amended complaint are Damian Stinnie, Melissa Adams,
  Adrainne Johnson, Williest Bandy, and Brianna Morgan (“Plaintiffs”). They bring this action
  “for themselves individually and on behalf of all others similarly situated,” seeking the
  certification of two classes: (1) a “Suspended Class” consisting of all persons whose drivers’
  licenses are currently suspended due to their failure to pay court debt pursuant to § 46.2-395 and
  (2) a “Future Suspended Class” consisting of all persons whose drivers’ licenses will be
  suspended due to their failure to pay court debt pursuant to § 46.2-395. (Dkt. 84 ¶¶ 296–298).

                                                       2
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 3 of 23 Pageid#: 2393




          2. Plaintiff Adrainne Johnson, a resident of Charlottesville, Virginia, is the mother of

  three children. (Dkt. 113 (Hr’g Tr.) at 15).

          3. Johnson’s license has been suspended “off and on since 2016,” and is currently

  suspended for nonpayment of court fines and costs. (Id.).

          4. Due to her lack of a license, Johnson struggles to get to the grocery store or meet her

  daughter’s medical needs, and cannot take her son to, or attend, any of his sporting events. (Id.

  at 17, 19).

          5. Johnson’s lack of a license has impacted her employment, causing her to lose a job,

  preventing her from being hired, and frustrating her opportunities for advancement. (Id. at 17–

  19).

          6. Johnson and her children currently share a single family home with another family, but

  with a better paying job, she would be able to improve her living situation. (Id. at 18).

          7. Johnson’s current income does not leave her with any money after necessary expenses

  each week. (Id. at 16).

          8. At no time did any court inquire how much Johnson could afford to pay or inform her

  about the availability of alternatives to payments, and she has been unable to provide the

  requested amount. (Id. at 38–41). 2

          9. Plaintiffs Stinnie and Adams find themselves in similar circumstances. (See Dkt. 90-3

  and 90-4).

  2
          The convictions associated with Johnson’s court fines and costs occurred before the
  codification of Supreme Court of Virginia Rule 1:24 and Va. Code § 19.2-354.1. Va. Code §
  19.2-354.1 requires state courts to “give a defendant ordered to pay fines and costs written notice
  of the availability of deferred, modified deferred, and installment payment agreements.” That
  code section also requires state courts to “offer any defendant who is unable to pay in full the
  fines and costs within 30 days of sentencing the opportunity to enter into a” payment agreement.
  Va. Code § 19.2-354.1(B). Rule 1:24 “is intended to ensure that all courts approve deferred and
  installment payment agreements consistent with §§ 19.2-354, 19.2-354.1.”

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Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 4 of 23 Pageid#: 2394




         10. Stinnie describes a “cycle of debt, license suspension, and more debt and

  incarceration for driving while suspended” that prevents him from improving his employment

  situation or meeting basic needs, such as medical treatment and housing. (Dkt. 90-3 at 2).

         11. Adams’s license is currently suspended because she cannot afford to pay court fines

  and costs. (Dkt. 90-4 at 1).

         12. Adams’s “rare and serious blood disorder” has prevented her from maintaining steady

  employment, and although she initially made payments on her court debt, she could not “keep

  [them] up and support [herself] and [her] son on [her] limited income.” (Id.).

         13. At no time before the suspension of their licenses were Stinnie or Adams asked about

  their financial circumstances or reasons for non-payment. (Dkt. 90-3 at 3; dkt. 90-4 at 2).

         14. Plaintiffs Bandy and Morgan’s licenses were suspended for several years and were

  recently reinstated, but both face imminent suspension because they cannot afford the payments

  required by their payment plans. (Dkt. 90-6 at 1; dkt. 90-7 at 1).

         15. Bandy and Morgan are currently on installment plans established to pay state court

  fines and costs, but they face the decision of providing necessities for their families, such as

  water and electricity, or paying monthly installments. (Dkt. 90-6 at 2; dkt. 90-7 at 4).

         16. There was no inquiry into Bandy or Morgan’s financial circumstances before or after

  their licenses were suspended. (Dkt. 90-6 at 1; dkt. 90-7 at 1–2).

                                                       B.

         17. Loss of a driver’s license adversely affects people’s ability to gain and maintain

  employment, often leading to a reduction in income. (Hr’g Tr. at 112).

         18. When suspension occurs pursuant to § 46.2-395, neither a judge nor a clerk enters an

  order suspending the license or notifies the debtor of a license suspension. (Id. at 45–47, 66).



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Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 5 of 23 Pageid#: 2395




            19. Rather, DMV inputs suspensions based on electronic data automatically transmitted

  from state court computers to DMV. (Id. at 46, 146–7).

            20. At sentencing hearings in Virginia state courts, the presiding judge assesses court

  fines and costs as well as their due date. (Id. at 45–46)

            21. At (or within five days of) sentencing, a criminal defendant is provided with a notice

  indicating possible license suspension if he or she does not pay assessed costs by a designated

  date. (Id. at 45; 67; 73; § 46.2-395(C)).

            22. After sentencing, the court’s disposition, assessed costs, and the due date of any

  assessed costs are entered into the Circuit Case Management System (“CCMS”) and the

  Financial Accounting System (“FAS”). 3 (Hr’g Tr. at 43–44, 46).

            23. The date that costs become due may be years after the date of sentencing. (Id. at 46,

  113). 4

            24. If a person fails to pay assessed costs within 40 days of the designated date, a fines

  and costs indicator is automatically, electronically transmitted to DMV. 5 (Id. at 46, 66).

            25. This information is transmitted from CCMS to the Court Automated Information

  3
          FAS is an updated version of the Financial Management System (“FMS”) that has been
  implemented in Virginia court systems over the last year and a half. (Hr’g Tr. at 44). For
  current purposes, the systems perform the same function: recording individuals’ court debt. (Id.
  at 44–45). CCMS and FAS are integrated systems: when a clerk enters information in CCMS,
  the data relevant to an individual’s financial account is transmitted to FAS. (Id.)
  4
          There are two instances where a due date may be years after the underlying conviction.
  First, where a defendant is sentenced to imprisonment and/or placed on supervised probation the
  payment may be deferred until after the completion of the sentence. (Hr’g Tr. at 46).
  Additionally, where individuals establish payment plans with the state court, they are not in
  danger of default until they fail to make a payment, which can be years after the fines and costs
  were initially assessed. (Id. at 113 (establishing that Plaintiff Johnson made payments via a
  payment plan for years before her license was suspended)).
  5
         This is true for all but two counties in Virginia, Alexandria and Fairfax, where courts
  send paper documents regarding nonpayment of fines and costs directly to DMV. (Id. at 139).

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Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 6 of 23 Pageid#: 2396




  System, a “system-to-system” process between DMV and the Supreme Court Office of the

  Executive Secretary (“OES”) that allows DMV to routinely receive data from state courts. (Id. at

  52, 134).

          26. Data goes from CCMS to the Court Automated Information System through OES

  without any action by the courts. (Id.).

          27. At the time of default, neither the judge nor the clerk enters an order regarding a

  driver’s license suspension for failure to pay fines and costs. (Id. at 45).

          28. At the time of default, no notice is sent to the licensee regarding the pending license

  suspension. (Id. at 47, 70).

          29. Through a computer-generated report, the state court clerk’s office is able to review

  information sent to DMV, but the court does not contact defaulted individuals to inform them of

  license suspensions. (Id. at 54–55).

          30. The computer-generated report is used only to ensure that payments or non-payments

  are appropriately recorded. (Id. at 56).

          31. Upon receipt of information regarding non-payment of court fines and costs, DMV

  records a license suspension and sends a letter informing the defaulted individual that his or her

  license has been suspended for failure to pay court debt. (Id. at 46).

          32. The driving transcript updated by DMV is made available to law enforcement,

  courts, and attorneys, and can be obtained by insurance companies, as well as individuals. (Id. at

  138).

          33. Without DMV’s actions, an individual’s driving record would not reflect a

  suspension. (Id. at 147).

          34. State courts have the authority to create installment payment plans to aid individuals



                                                    6
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 7 of 23 Pageid#: 2397




  struggling to pay court fines and costs. (Id. at 112); Va. Code § 19.2-354.1.

          35. DMV can remove a license suspension based on failure to pay court fines and costs

  where a debtor provides a certified copy of a court-approved payment plan. (Hr’g Tr. at 57).

          36. The court does not take any action to notify a debtor that he is missing payments, and

  once a payment is missed, the individual’s information is transmitted to DMV through the

  process described above. See supra ¶¶ 25–32; (Hr’g Tr. at 58).

          37. The process of establishing payment plans differs among Virginia courts, but in all

  jurisdictions, when a payment is missed, a debtor’s data is automatically transmitted to DMV

  through OES and the Court Automated Information System. (Hr’g Tr. at 61).

          38. When a license is suspended for nonpayment of fines and costs, it cannot be

  reinstated until the individual pays DMV’s $145 reinstatement fee. (Id. at 140).

          39. DMV has sole responsibility for the collection of the reinstatement fee. (Id.)

          40. DMV retains $45 of the reinstatement fee, and the remaining $100 goes to the

  Trauma Center Fund. (Id. at 142).

          41. Without DMV’s actions, a license could not be suspended under § 46.2-395. (Id. at

  147).

                          III.    Commissioner’s Jurisdictional Arguments

          In response to Plaintiffs’ motion for a preliminary injunction, the Commissioner argues

  that this Court lacks jurisdiction for three reasons: (1) the Rooker-Feldman doctrine precludes

  this Court from exercising jurisdiction over the claims; (2) Plaintiffs lack Article III standing;

  and (3) the Commissioner is immune from suit under the Eleventh Amendment.

                                     A. The Rooker-Feldman Doctrine

          The Rooker-Feldman doctrine precludes federal district courts from exercising appellate



                                                   7
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 8 of 23 Pageid#: 2398




  jurisdiction over a state court’s final judgment in a judicial proceeding. See District of Columbia

  Courts of Appeals v. Feldman, 460 U.S. 462, 481–82 (1983). The doctrine does not apply “if a

  plaintiff in federal court does not seek review of the state court judgment itself but instead

  presents an independent claim.” Thana v. Bd. of License Comm’rs for Charles Cty., Md., 827

  F.3d 314, 320 (4th Cir. 2016) (internal quotations omitted). The evidence shows that Plaintiffs

  do not suffer the challenged injury due to a state court judgment. Rather, Plaintiffs contest the

  actions of a state executive officer—the Commissioner—in suspending their driver’s licenses.

  Insofar as the state court acts at all, Plaintiffs do not challenge that action but bring an

  independent claim.

          The “essence of a judicial proceeding” is the adjudication and rejection of a party’s

  arguments. Feldman, 460 U.S. at 480–81. There is no judicial proceeding surrounding license

  suspension under § 46.2-395. The court’s only action is the assessment of fines and costs

  associated with an underlying conviction. Forty days after payment of those costs is due,

  without notification to affected individuals and without entrance of a court order, data is

  automatically, administratively, and electronically transmitted to DMV. DMV, in turn, enters a

  suspension on the debtor’s driving record. The suspension is an administrative action, and “state

  administrative decisions, even those that are subject to judicial review by state courts, are beyond

  doubt subject to challenge in an independent federal action.” Thana, 827 F.3d at 321.

         Additionally, the Rooker-Feldman doctrine does not bar this Court’s review of a facial

  challenge to the statute because Plaintiffs present an independent claim. “A state-court decision

  is not reviewable by lower federal courts, but a statute or rule governing the decision may be

  challenged in a federal action.” Skinner v. Switzer, 562 U.S. 521, 532 (2011). Accordingly,

  where an individual challenges the constitutionality of a statute, rather than the judgment



                                                   8
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 9 of 23 Pageid#: 2399




  enforcing the statute, they have brought an independent claim to which Rooker-Feldman does

  not apply. See Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 282 (2005). (“If a

  federal plaintiff presents some independent claim, albeit one that denies a legal conclusion that a

  state court has reached in a case to which he was a party, then there is jurisdiction.”).

         Plaintiffs do not contest their convictions or the fines and costs assessed by the state

  court, (Dkt. 90 at 1). Therefore, the outcome of this case will not affect those judgments.

  Plaintiffs challenge the constitutionality of a statute that, they claim, violates their rights to due

  process and equal protection under the law. (Id. at 1–2). There has been no state court ruling on

  the constitutionality of this statute, and therefore no state judgment that would bar this Court’s

  review of Plaintiffs’ claims. See also Stinnie, 734 F.App’x at 870 (Gregory, C.J., dissenting)

  (“The absence of a reviewable state judgment, by definition, means Rooker-Feldman cannot

  apply, for it precludes only appellate review by district courts.”). For these reasons, the Rooker-

  Feldman doctrine does not bar jurisdiction over Plaintiffs’ claims.

                                           B. Article III Standing

         To satisfy Article III standing requirements, Plaintiffs must show that (1) they suffered an

  actual or threatened injury that is concrete, particularized, and not conjectural; (2) the injury is

  fairly traceable to the challenged conduct; and (3) the injury is likely to be redressed by a

  favorable decision. Doe v. Va. Dep’t of St. Police, 713 F.3d 745, 753 (4th Cir. 2013). The

  Commissioner argues that Plaintiffs fail to demonstrate traceability or redressability. (Dkt. 99 at

  11). However, the evidence shows that the Commissioner is at least partially responsible for

  Plaintiffs’ harms, and Plaintiffs’ requested relief would eliminate most, if not all, of the harms

  caused by § 46.2-395.




                                                    9
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 10 of 23 Pageid#: 2400




                                                 i.    Traceability

          To establish that their injuries are “fairly traceable” to the Commissioner, Plaintiffs must

   show that the challenged action is “at least in part responsible for frustrating” their constitutional

   rights. Libertarian Party of Va. v. Judd, 718 F.3d 308, 315 (4th Cir. 2013). Plaintiffs need not

   show that the Commissioner’s actions “are the very last step in the chain of causation.” Judd,

   718 F.3d at 316. Rather, the Supreme Court has “recognized the concept of concurrent causation

   as useful in evaluating whether the pleadings and proof demonstrate a sufficient connection

   between plaintiff’s injury and the conduct of the defendant.” Id.

          Consistent with these principles, in Doe, the Fourth Circuit held that an injury was fairly

   traceable to a defendant who implemented an allegedly unconstitutional statute. 713 F.3d at

   757–758. In that case, the plaintiff filed suit due to her inclusion on a Virginia sex offender

   registry, and the Court held that she had standing to bring her due process claim against the

   police superintendent whose only role was publishing the registry.               Id. at 751.     The

   superintendent was not responsible for the classification decisions affecting the plaintiff, but the

   Court reasoned that, where the injury was directly traceable to the defendant’s implementation of

   the challenged statute, the plaintiff met the requirements of traceability and redressability. Id. at

   757–58.

          The facts here are similar to those in Doe. The Commissioner has no discretion as to

   whose license is suspended, but he records the suspension, and without that action, Plaintiffs’

   driving records would not reflect a suspension.         (Hr’g Tr. at 146–47).      Additionally, the

   Commissioner is solely responsible for the reinstatement of licenses and collection of the $145

   reinstatement fee.    (Hr’g Tr. at 140).     For individuals who have little to no income, the

   reinstatement fee alone may deprive them of their ability to drive due to their inability to pay.



                                                      10
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 11 of 23 Pageid#: 2401




   Without the Commissioner’s actions, not only would Plaintiffs be able to drive without fear of

   being cited, fined, or possibly incarcerated, but they would not face the additional, and possibly

   insurmountable, burden of the reinstatement fee. Accordingly, Plaintiffs have established that

   their injury is fairly traceable to the actions of the Commissioner.

                                               ii.   Redressability

          To establish redressability, Plaintiffs must show that “it is likely, as opposed to merely

   speculative, that the injury will be redressed by a favorable decision.” Friends of Earth, Inc. v.

   Laidlaw Environmental Servs. (TOC), Inc., 528 U.S. 167 (2000). An injury is redressible where

   a favorable ruling would frustrate the implementation of a challenged statute or action. See, e.g.,

   Cooksey v. Futrell, 721 F.3d 226, 238 (4th Cir. 2013) (finding the redressability requirement met

   where a decision favoring the plaintiff “would mean the [defendant] would be enjoined from

   enforcing” an alleged unconstitutional statute, “and/or [the statute] would be deemed

   unconstitutional.”); Metro Wash. Airports Auth. v. Citizens for Abatement of Aircraft Noise, Inc.,

   501 U.S. 252, 265 (1991) (finding redressability requirement satisfied where invalidation of a

   board’s veto power would prevent the enactment of the allegedly harmful plan.).

          Here, Plaintiffs seek to prevent the Commissioner from implementing § 46.2-395, which

   would restore (or preserve) their ability to drive without fear of punishment, affording them the

   ability to improve their financial, home, and health conditions. Specifically, Plaintiffs request

   that the Commissioner be ordered to reinstate their licenses without imposing a reinstatement fee

   and that he be enjoined from taking further action that results in the suspension of licenses

   through an allegedly unconstitutional scheme. This would return Plaintiffs Stinnie, Adams,

   Johnson, and members of the putative Suspended Class to the position they would have been in

   but for the allegedly unconstitutional suspension—i.e., their licenses would be returned without



                                                     11
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 12 of 23 Pageid#: 2402




   imposition of a burdensome fee.        For Plaintiffs Bandy, Morgan, and the putative Future

   Suspended Class, who are facing imminent suspension under § 46.2-395, this would prevent an

   allegedly unconstitutional deprivation of their licenses.

          Without the Commissioner’s actions, it would be impossible to effectuate a license

   suspension. (Hr’g Tr. at 147). Accordingly, granting Plaintiffs’ request would allow them to

   “find full redress,” as their ability to drive “would be restored without fear of penalty.” Cooksey,

   721 F.3d at 238. For these reasons, the alleged injuries are redressible.

                                     C. Eleventh Amendment Immunity

          Generally, the Eleventh Amendment bars suits against states, state entities, and state

   officials. Gray v. Lewis, 51 F.3d 426, 431 (4th Cir. 1995). However, Ex Parte Young provides

   an exception, permitting suits challenging state officials who have some duty regarding

   enforcement of an allegedly unconstitutional act. 209 U.S. 123, 130–131 (1908). In such cases,

   citizens can bring suits against a state officer, in his official capacity, where he has a “special

   relation” to the challenged act. Id. at 201. To meet the “special relation” requirement, the

   challenged official must have “proximity to and responsibility for the challenged state action,”

   ensuring “that a federal injunction will be effective with respect to the underlying claim.” South

   Carolina Wildlife Federation v. Limehouse, 549 F.3d 324, 332–33 (4th Cir. 2008). This test

   does not require that the challenged statute specify the official’s role, but where there are express

   obligations, the officer’s duty is made more clear. Ex Parte Young, 209 U.S. at 453. Ultimately,

   the “important and material fact” is that “the state officer, by virtue of his office, has some

   connection with the enforcement of the act.” Id. Because the Commissioner has obligations

   under § 46.2-395, he has the special relationship required by Ex Parte Young, and Plaintiffs’

   action is not barred by the Eleventh Amendment.



                                                    12
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 13 of 23 Pageid#: 2403




          The Commissioner not only has express duties under § 46.2-395, but the evidence

   presented emphasizes his key role in creating, administering, and enforcing license suspensions.

   First, the Commissioner is the designated recipient and record-keeper for notices of unpaid court

   costs. § 46.2-395(C). Receipt of this notice alone permits the Commissioner to effectuate a

   license suspension. Second, an individual’s license will not be reinstated until the Commissioner

   is presented with evidence establishing that debt has been paid in full or a payment plan has been

   implemented. § 46.2-395(D). Finally, the Commissioner is responsible for collecting the $145

   license reinstatement fee, which must be paid before a suspension is lifted. §46.2-395(C); (Hr’g

   Tr. at 140). Given these duties, the Commissioner clearly has the proximity and responsibility

   necessary to establish “some connection” with the challenged statute. Ex Parte Young, 209 U.S.

   at 453; see, e.g., Bostic v. Schaefer, 760 F.3d 352 (4th Cir. 2014) (holding that circuit court clerk

   bore the requisite connection to the enforcement of state marriage laws because the plaintiffs

   could trace the denial of their rights to the defendant’s role in enforcing the allegedly

   unconstitutional law); cf. Hutto v. South Carolina Ret. Sys., 773 F.3d 536, 551 (4th Cir. 2014)

   (holding plaintiffs could not sue named state officials to enjoin collection of pension

   contributions because the officials “actually ha[d] no role” in the collection process). For these

   reasons, Plaintiffs’ suit is not barred by the Eleventh Amendment.

                                  IV.     Preliminary Injunction Factors

          With the threshold issues decided, the Court turns to the merits of the preliminary

   injunction. The four-part test from Winter v. Nat. Resources Def. Council, Inc., 555 U.S. 7

   (2008) governs. Centro Tepeyac v. Montgomery Cty., 722 F.3d 184, 188 (4th Cir. 2013). To

   obtain a preliminary injunction, the moving party must establish “that he is likely to succeed on

   the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the



                                                     13
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 14 of 23 Pageid#: 2404




   balance of equities tips in his favor, and that an injunction is in the public interest.” Winter, 550

   U.S. at 20. The plaintiff “need not establish a certainty of success, but must make a clear

   showing that he is likely to succeed at trial.” Di Biase v. SPX Corp., 872 F.3d 244, 230 (4th Cir.

   2017).

                          V.      Plaintiffs’ Likelihood of Success on the Merits

            Plaintiffs assert that the Commissioner carries out the suspension process under § 46.2-

   395 “with no meaningful notice, without a hearing, and without consideration of the persons’

   inability to pay.” (Dkt. 90 at 1). They argue that they, “and hundreds of thousands of Virginians

   like them, lost their licenses for the simple reason that they could not afford the fines and costs

   imposed on them . . . offend[ing] the Fourteenth Amendment guarantees of due process and

   fundamental fairness, as well as equal protection under the law.” (Id. at 1–2). Plaintiffs advance

   several theories as to how their claims will succeed, but all that is necessary for preliminary

   injunctive relief is establishing the likelihood of success on at least one of their claims. (Hr’g Tr.

   at 12); see League of Women Voters of N.C. v. N.C., 769 F.3d 224 (4th Cir. 2014) (remanding

   with instructions to enter a preliminary injunction where plaintiffs were likely to succeed on at

   least one of their claims); Forest City Daly Housing, Inc. v. Town of North Hempstead, 175 F.3d

   144, 151 (2d Cir. 1999) (“At the preliminary injunction stage, plaintiffs need to show a

   likelihood of success with respect to only one of [the three challenged] statutes.”). The inquiry

   into likelihood of success requires Plaintiffs to “make a clear showing that they are likely to

   succeed . . . [but they] need not show a certainty of success.” Pashby v. Delia, 709 F.3d 307, 321

   (4th Cir. 2013). Because Plaintiffs have met this burden regarding their procedural due process

   claim, they have satisfied the first prong of Winter.

            Plaintiffs assert that § 46.2-395 “is unconstitutional on its face for mandating automatic



                                                    14
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 15 of 23 Pageid#: 2405




   license suspension without notice or a hearing,” and that “[t]his defect violates the procedural

   due process rights of every driver whose license is suspended under Section 46.2-395.” (Dkt. 90

   at 14). 6 The Fourteenth Amendment provides that no State can “deprive any person of life,

   liberty, or property, without due process of law.” U.S. Const. amend. XIV § 1. For Plaintiffs’

   motion for preliminary injunction to succeed based on their procedural due process claim, they

   must demonstrate that, at trial, they are likely to show (1) they have been deprived of life, liberty

   or property, and (2) that such deprivation occurred without the due process of law. Mathews v.

   Eldridge, 424 U.S. 319, 332 (1976).

          A “driver’s license is a property interest protected by the Fourteenth Amendment and,

   once issued, a driver’s license may not be taken away without affording a licensee procedural

   due process.” Scott v. Williams, 924 F.2d 56, 58 (4th Cir. 1991); Plumer v. Maryland, 915 F.2d

   927, 931 (4th Cir. 1990) (“It is well settled that a driver’s license is a property interest that may

   not be suspended or revoked without due process.”). Accordingly, the Court turns to whether §

   46.2-395 provides due process.

           “At bottom, procedural due process requires fair notice of impending state action and an

   opportunity to be heard.” Snider Int’l Corp. v. Town of Forest Heights, Md., 739 F.3d 140, 146 (4th

   Cir. 2014) (citing Mathews, 424 U.S. at 333). Notice and hearing are two distinct features of due

   process, and thus governed by different standards. Id. Notice is “‘an elementary and fundamental

   6
            The Court notes that “if the arguments and evidence show that a statutory provision is
   unconstitutional on its face, an injunction prohibiting its enforcement is ‘proper.’” Whole
   Woman’s Health v. Hellerstedt, 136 S.Ct. 2292, 2306 (2016) (quoting Citizens United v. Federal
   Election Comm’n, 558 U.S. 310, 333 (2010)). In Whole Woman’s Health, the Supreme Court
   found the district court’s award of facial relief appropriate where petitioners asked for as-applied
   relief, and “such other and further relief as the Court may deem just, proper, and equitable.” Id.
   (internal quotations omitted). In this case, Plaintiffs ask this Court for as-applied relief and
   “further relief as this Court may deem necessary and/or appropriate in the interests of justice.”
   (Dkt. 84 at 44). Accordingly, where Plaintiffs’ “evidence and arguments convince[] the District
   Court that the provision [is] unconstitutional across the board,” it is within this Court’s power to
   enjoin the enforcement of § 46.2-395.

                                                    15
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 16 of 23 Pageid#: 2406




   requirement of due process,’ and must be reasonably calculated to convey information concerning a

   deprivation.” Id. (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)).

   The hearing prong is governed by the three-step inquiry set forth in Mathews, which determines the

   adequacy of the opportunity to be heard. Id. (citing Mathews, 424 U.S. at 335). The Court will

   evaluate each of these elements in turn.

                                                    A. Notice

          Notice must be provided in a manner that would be employed by one who was “desirous of

   actually informing” the affected party of the pending deprivation of property. Mullane, 339 U.S. at

   657. A “mere gesture” will not suffice. Id. The “reasonableness and hence the constitutional

   validity of any chosen method may be defended on the ground that it is in itself reasonably certain to

   inform those affected.” Id. Ultimately, notice is meant to “apprise interested parties of the pendency

   of the action and afford them an opportunity to present their objections.” Id. “Personal service has

   not in all circumstances been regarded as indispensable to the process due,” and “[t]he Supreme

   Court has routinely recognized that the use of mail satisfies the notice element of due process.”

   Mullane, 339 U.S. at 314; Snider Int’l Corp., 739 F.3d at 146. Furthermore, individual notice

   has not been found necessary where it is “established by published, generally available state

   statutes and case law.” City of West Covina v. Perkins, 525 U.S. 234, 241 (1999) (holding

   individualized notice was not required where generally available statutes contained state-law

   remedies).

          Here, § 46.2-395(C) provides that written notice regarding license suspension upon

   failure to pay court costs “shall be provided to the person at the time of trial or shall be mailed by

   first-class mail” to the person’s current mailing address. While these forms of notice may

   comport with due process, see Snider Int’l Corp., 739 F.3d at 148, the evidence presented reveals

   two substantive problems. First, license suspension is merely a possibility at the time notice is


                                                    16
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 17 of 23 Pageid#: 2407




   given. See Section I, ¶ 23. This is not necessarily a fatal flaw. For example, in Snider Int’l

   Corp., a corporation and individual recipients of traffic citations challenged the use of first class

   mail to deliver notice of violations and associated penalties. 739 F.3d at 143. The citations

   carried a civil penalty of no greater than forty dollars, but non-payment and failure to contest

   liability could lead to the suspension of the vehicle’s registration. Id. In the case at hand, license

   suspension may occur years after the state court’s assessment of fines and costs, see supra

   Section I, ¶ 14, and no notice is sent to licensees at the time of default. See supra Section I, ¶ 23.

   In contrast, the notice at issue in Snider Int’l Corp. was provided no more than 30 days after a

   violation occurred.    739 F.3d at 143, n. 3.         This temporal disconnect makes it at least

   questionable whether the means of notice employed here are more than a “mere gesture.”

   Mullane, 339 U.S. at 315.

          Second, for notice to be sufficient, it must not only provide interested parties with

   information regarding the pendency of the action, but also “afford them an opportunity to present

   their objections.” Mullane, 339 U.S. at 314. For instance, in Snider Int’l Corp., the Fourth

   Circuit found that a traffic citation sent by first-class mail provided adequate notice of a

   recipient’s violation where the recipient could elect a trial in lieu of paying a penalty. 739 F.3d

   140. Additionally, in City of West Covina, the Supreme Court held that notice was satisfied by

   the presence of a generally available statute where the owner of seized property could turn to

   those statutes “to learn about the remedial procedures available to him.” 525 U.S. at 241. In

   contrast, § 46.2-395 does not give notice to licensees about opportunities to air objections

   regarding license suspension for failure to pay fines and costs, because no such process is

   available. See infra Section IV.B.

          Again, “[a]n elementary and fundamental requirement of due process in any proceeding



                                                    17
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 18 of 23 Pageid#: 2408




   which is to be accorded finality is notice reasonably calculated, under all the circumstances, to

   apprise interested parties of the pendency of the action and afford them an opportunity to present

   their objections.” Mullane, 339 U.S. at 314 (emphasis added). The evidence before the Court

   suggests that Plaintiffs may succeed on showing notice is deficient in this case. However, the

   Court need not reach a definitive conclusion on this issue because Plaintiffs have made a clear

   showing that they are likely to establish that they are not provided an opportunity to be heard.

                                                  B. Hearing

          Even if the notice provided here was more than a mere gesture, Plaintiffs are likely to

   show § 46.2-395 does not provide any hearing, much less one that satisfies due process. “The

   fundamental requirement of due process is the opportunity to be heard at a meaningful time and

   in a meaningful manner.”        Mathews, 424 U.S. at 333 (internal quotations omitted).            A

   meaningful hearing serves the Due Process Clause’s purpose of protecting persons “from the

   mistaken or unjustified deprivation of life, liberty, or property.” Carey v. Piphus, 435 U.S. 247,

   259 (1978). In making determinations about the sufficiency of process, Mathews requires the

   consideration of three factors: (1) the private interest involved; (2) the risk of erroneous

   deprivation through the procedures used; and (3) the government’s interest. Id. at 335. The

   Court determines that Plaintiffs are likely to succeed because the procedures in place are not

   sufficient to protect against the erroneous deprivation of the property interest involved. Indeed, §

   46.2-395, on its face, provides no procedural hearing at all.

                                                         *

          In considering the private interest involved here, the Supreme Court has held “that when

   a State seeks to terminate an interest such as [a driver’s license], it must afford notice and

   opportunity for hearing appropriate to the nature of the case before the termination becomes



                                                    18
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 19 of 23 Pageid#: 2409




   effective.” Bell v. Burson, 402 U.S. 535, 542 (1971) (emphasis added).          The Fourth Circuit

   requires that a licensee be given some sort of opportunity to contest the suspension. Plumer, 915

   F.2d at 931. In Plumer, the Fourth Circuit held that a licensee must “be given a chance to rebut”

   any evidence against him. Id. In this case, the Commissioner enters a suspension based on a

   failure to pay court fines and costs in full or in part. (Hr’g Tr. at 147). At no time are Plaintiffs

   given any opportunity to be heard regarding their default, nor do they have the opportunity to

   present evidence that they are unable to satisfy court debt. This is not sufficient in light of the

   “degree of potential deprivation that may be created.” Mathews, 424 U.S. at 341.

                                                         **

          The Commissioner argues that Plaintiffs are given three opportunities that prevent the

   “risk of an erroneous deprivation.” Mathews, 424 U.S. at 333. First, at the time of sentencing or

   through a petition contesting the assessment of court costs; second, upon an appeal of

   defendant’s criminal conviction; and finally, through “the statutory mechanism that allows the

   sentencing court to reduce or forgive” court debt. (Dkt. 99 at 15–16). These are not procedures

   that are tailored “‘to the capacities and circumstances of those who are to be heard,’” nor do they

   ensure that licensees are “given a meaningful opportunity to present their case.” Id. at 349

   (quoting Golberg v. Kelly, 397 U.S. 245, 268–69 (1970)).

          The first two instances present the same issues: (1) they address the underlying

   conviction and assessment of costs, not the license suspension; and (2) they occur at a time well

   before the licensee is in default, a time when the licensee may, in good faith, believe he has the

   ability to pay. License suspension occurs 40 days after the assessed due date, which can be years

   after sentencing, see supra Section I, ¶ 14, but an appeal must occur within 10 days of a criminal

   conviction in a general district court, (Va. Code. § 16.1-132), and within 30 days of a conviction



                                                    19
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 20 of 23 Pageid#: 2410




   in a circuit court. (Va. Code § 8.01-675.3). Similarly, for those who have their licenses

   suspended for failure to make payments according to a payment plan, the time to appeal has long

   since passed. (See Hr’g Tr. at 113). At the time of appeal, as at the time of sentencing, license

   suspension is not a certainty, nor is the licensee aware of unforeseen circumstances that might

   make him unable to satisfy debt when it is due.

          Finally, the statutory mechanism that allows a sentencing court to reduce or forgive court

   debt addresses the imposition of fines and costs, but does not provide Plaintiffs with an

   opportunity to be heard on the fact of license suspension. Va. Code § 19.2-354.1. Suspension

   will still occur if the licensee fails to pay the reduced amount prescribed by the court.

   Additionally, if the court forgives already-defaulted debt, the licensee would still have to provide

   the Commissioner with proof of satisfaction and pay DMV’s $145 reinstatement fee. There is no

   evidence that DMV provides a process that allows for waiver of this fee due to inability to pay.

   Because none of these procedures allow Plaintiffs to be heard on their alleged default and later

   suspension, the procedures fail to present the necessary opportunity to contest the suspension.

   Accordingly, Plaintiffs are likely to show the second Mathews factor weighs in their favor. 7

                                                          ***

          The final Mathews factor, the government’s interest, also weighs in Plaintiffs’ favor. The

   Commissioner argues that “the Commonwealth of Virginia has an interest in continuing to have

   some enforcement mechanism to go with those fines that have been assessed by the juries.”

   (Hr’g Tr. at 185). There is no indication that a loss of license will incentivize individuals to pay
   7
           Defendant argues that codification of Supreme Court of Virginia Rule 1:24, requiring
   courts to give written notice of the availability of deferred and installment payment plans helps
   to prevent erroneous deprivation. (Dkt. 99 at 5). This is not persuasive. While enrollment in a
   payment plan does suggest the consideration of financial hardship, an individual who fails to
   make the established payments will still have her license suspended pursuant to § 46.2-395. This
   may delay suspension, but it does not prevent, or allow a licensee to object to, a license
   suspension for failure to pay court fines and costs.

                                                     20
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 21 of 23 Pageid#: 2411




   court fines and costs where those individuals simply cannot afford to pay. In practice, the loss

   of a driver’s license adversely affects people’s ability to gain and maintain employment, often

   resulting in a reduction of income. (Hr’g Tr. at 106; 112). This deprives individuals of means to

   pay their court debt, hindering the fiscal interests of the government. Were procedural due

   process to be afforded, the Commissioner would be able to ascertain the effectiveness of his

   chosen enforcement mechanism, i.e., license suspension, and thus establish a more reliable way

   to ensure the collection of court fines and costs.

          “The essence of due process is the requirement that ‘a person in jeopardy of serious loss

   be given notice of the case against him and opportunity to meet it.’” Mathews, 424 U.S. at 348–

   49 (quoting Joint Anti-Fascist Comm. v. McGrath, 341 U.S. 123, 171–72 (1951) (Frankfurter, J.,

   concurring)). Here, the private interest at stake plainly merits some pre-deprivation process,

   Bell, 402 U.S. at 542, and the evidence presented highlights the importance of a driver’s license

   in Virginia specifically. 8 There are no mechanisms in place that allow individuals to be heard

   regarding their inability to pay court fines and costs, and the government’s stated interest is not

   supported where license suspension causes a decrease in debtors’ income. Accordingly, the

   Court concludes that § 46.2-395, on its face, does not provide a meaningful opportunity to be

   heard regarding license suspension. Therefore, Plaintiffs demonstrate a likelihood of success on

   their claim that § 46.2-395 violates procedural due process. 9

   8
           Not only does Plaintiffs’ testimony emphasize their need for a driver’s license to meet
   non-economic needs, such as medical care for themselves and their families, (see, e.g., Hr’g Tr.
   at 17–18; dkt. 90-4 at 2), but evidence also shows that the majority of Virginians rely on cars to
   travel to work, and that the lack of a license reduces job opportunities. (Hr’g Tr. at 129).
   9
          The Court notes that Plaintiffs present a host of constitutional claims, but because it has
   found Plaintiffs are likely to succeed on the merits of their procedural due process claim, it need
   not reach those issues. See Fowler v. Johnson, No. 17-11441, 2017 WL 6379676 (E.D. Mich.
   2017) (granting a preliminary injunction enjoining the Michigan DMV from enforcing an
   allegedly unconstitutional license suspension scheme based only on the likelihood of success on

                                                    21
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 22 of 23 Pageid#: 2412




                                         VI.      Other Winter Factors

           The remaining factors governing a request for a preliminary injunction—irreparable

   harm, the balance of equities, and the public interest—weigh in favor of Plaintiffs. First, where

   Plaintiffs’ constitutional rights are being violated, there is a presumption of irreparable harm.

   Davis v. District of Columbia, 158 F.3d 1342, 1343 (4th Cir. 1998) (citing Ross v. Meese, 818

   F.2d 1132, 1135 (4th Cir. 1987)). Irreparable harm is clearly demonstrated through the facts

   surrounding Plaintiff Stinnie. (Dkt. 90-3). Plaintiff Stinnie received a loan and paid the court debt

   underlying his initial license suspension. (Id. at 2). However, before receiving the loan that allowed

   him to pay his court fines and costs, he drove to essential medical appointments, resulting in a

   conviction for driving on a suspended license. (Id. at 2–3). He appealed his conviction, but lost,

   resulting in his current license suspension, despite the fact that he has paid the initial underlying court

   debt. (Id.). Money could not solve the injury Plaintiff Stinnie suffered, the suspension of his license

   made it impracticable, if not impossible, for him to carry out necessary tasks, and payment of

   underlying court fines and costs did not alleviate his situation.

           The other plaintiffs suffer similar harm. For example, Plaintiff Johnson testified that she is

   unable to take her daughter to necessary medical appointments, or attend her son’s athletic events,

   causing stress for both her and her children. (Hr’g Tr. at 17). She further testified that, because of

   her suspended license she has lost a job and been denied another. (Id.). Similarly, without driving,

   Plaintiff Adams could not travel to and from work, her chemotherapy appointments, or her son’s

   medical specialist. (Dkt. 90-4 at 2). Money alone would not alleviate Plaintiffs’ harms or release

   Plaintiffs from the cycle of hardships caused by § 46.2-395. The only remedy for Plaintiffs’ injury is

   the restoration of their licenses and the prevention of further suspensions under § 46.2-395.

           As for the remaining factors, the balancing of the equities and public interest, Fourth


   plaintiffs’ due process claim).

                                                       22
Case 3:16-cv-00044-NKM-JCH Document 126 Filed 12/21/18 Page 23 of 23 Pageid#: 2413




   Circuit precedent “counsels that ‘a state is in no way harmed by issuance of a preliminary

   injunction which prevents the state from enforcing restrictions likely to be found

   unconstitutional. If anything, the system is improved by such an injunction.’” Centro Tepeyac

   v. Montgomery Cty., 722 F.3d 184, 191 (4th Cir. 2013) (citing Giovani Carandola, Ltd. v. Bason,

   303 F.3d 507, 521 (4th Cir. 2002)). The harm § 46.2-395 poses to Plaintiffs outweighs any harm

   the issuance of a preliminary injunction would cause others. While the Court recognizes the

   Commonwealth’s interest in ensuring the collection of court fines and costs, these interests are

   not furthered by a license suspension scheme that neither considers an individual’s ability to pay

   nor provides him with an opportunity to be heard on the matter. See Fowler v. Johnson, No. 17-

   11441, 2017 WL 6379676, at *12 (E.D. Mich. Dec. 14, 2017) (“The State’s and public’s

   interests may in fact be served by an injunction, as restoring the driver’s licenses of individuals

   unable to pay their traffic debt may enable them to obtain and retain employment, which will

   make them more likely to pay that debt.”).

                                            VII.    Conclusion

          For the reasons discussed, the Court finds it likely that Plaintiffs will succeed in

   establishing that § 46.2-395 violates procedural due process. The remaining factors relevant to

   the issuance of a preliminary injunction also weigh in favor of Plaintiffs.          Accordingly,

   Plaintiffs’ motion for preliminary injunction will be granted.

          An appropriate order will issue, and the Clerk of the Court is hereby directed to send a

   certified copy of this memorandum opinion and the accompanying order to all counsel of record.

                       21st day of December, 2018.
          Entered this ____




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